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            EXHIBIT 5
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1    Call Date:   2018-09-29

2    Call Duration:     13:40

3    Call Begin [      ] Call End [     ]

4    Call Participants:

5        Rick Singer

6        John Wilson

7    File Name:   9163848802 2018-09-29 15-24-23 09249-001

8    Bates No.:

9

10   [00:00:00]

11   WILSON:   Hey, Rick.       How ya doin’?

12   SINGER:   Hey, John.       How are ya?

13   WILSON:   Good.    You feelin’ better?

14   SINGER:   Lot better.

15   WILSON:   Oh, (overlapping dialogue; inaudible).

16   SINGER:   You good?    You been out of town?

17   WILSON:   Yeah, I’ve been out of town.        Been traveling.     I’m

18       goin’ to Europe next week, so it’ll be easier to connect

19       this week, so...

20   SINGER:   OK, cool.     So the girls --

21   WILSON:   So, yeah --

22   SINGER:   -- were great.

23   WILSON:   Cool.    I, I still didn’t get a c-- a f-- a full

24       debrief from ’em, but talked to                         They, um,
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1        level you are, but she can con-- you know, you’re gonna

2        get a benefit, [00:04:00] and the family’s gonna get

3        benefit.    So are you will-- are you interested in doing

4        that?”

5    WILSON:     Yeah.   OK.   And just -- but -- and what’s the other

6        side?    If it’s not a sport, what is it?        Is there any

7        other side doors in --

8    SINGER:     Then I have to go to -- then I have to go to

9        department chairs, and, and, and get...          Some schools

10       have a VIP list at the department chair level, so we

11       could go that route, and then you can help their

12       (inaudible) -- their, their program.         It just depends on

13       which school you want to go to.

14   WILSON:     OK, you know, I have this friend -- you know, one of

15       the things I wanted to talk to you about, too, is I -- I

16       don’t know how -- I remember last time I did this, you

17       didn’t really make any money on this, on the side, this

18       stuff.    You just charge, and then you make a donation to

19       the school, and that’s it?

20   SINGER:     Well, uh, so it depends in different ways.        So

21       what’s happened in the grown-up world of my world now,

22       compared to when, you know, we did               , was that

23       essentially now the money goes into my foundation, as a

24       donation, (overlapping dialogue; inaudible) --
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1    WILSON:   Oh, to your foundation, not to the schools.

2    SINGER:   Yeah, then that way the kids don’t know it happens,

3        right?

4    WILSON:   Yeah.

5    SINGER:   So -- and then the other part [00:05:00] of that is

6        they don’t chase you all the time for money.           ’Cause once

7        you -- you know, once you’re -- they know you gave money,

8        that’s a different story.       And then what I can -- what

9        I’ll do is I’ll split the money potentially to the coach

10       or other pl-- parties that are out that school that need

11       the money, right?

12   WILSON:   Mm-hmm.

13   SINGER:   So...     Or it may go right to the coach, um, that’s

14       helping us.     It ju-- it just depends on the school.

15   WILSON:   Right.     OK, so you don’t actually get credit for a

16       donation to the school, or get hounded for that.            You

17       get, uh --

18   SINGER:   (overlapping dialogue; inaudible)

19   WILSON:   -- your donation to you, or your foundation, the Key

20       or whatever --

21   SINGER:   Right, and you get --

22   WILSON:   -- that, uh -- and --

23   SINGER:   -- your write-off, and then you do your thing.

24   WILSON:   OK.
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1    WILSON:    Yeah.   Not so easy on liquidity, but yeah,

2        (laughter) (inaudible).       You got the installment plan?

3        (inaudible).

4    SINGER:    (inaudible).    Listen, I gotta go to an a-- another

5        appointment.     I just wanted to make sure I got back to

6        you.     I’m gonna be spending some time in Boston, because

7        I’m gonna be reading in Harvard this year, so I’ll be

8        able to get together with you.

9    WILSON:    Oh, I’d love that.     That’d be great.     And I’m gonna

10       connect you -- I’ll just (inaudible) -- I’ll send an

11       email to you, and the guy’s name is                     , and --

12   SINGER:    OK.

13   WILSON:    -- he could become a client and do whatever, and

14       I’ll let the 2 of you kinda email back and forth and

15       stuff.    He’d love to do something not known to his

16       daughter at Brown.

17   SINGER:    Got it.

18   WILSON:    (laughs) And he’s got money.

19   SINGER:    I gotcha.    I gotcha.

20   WILSON:    OK.

21   SINGER:    All right.    Take care.

22   WILSON:    All right, take care.      Bye.

23   SINGER:    OK, bye-bye.

24   [00:13:40]
